Case 1:18-cv-10819-LTS Document 9-2 Filed 05/10/18 Page 1 of 2

UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

STANDING ORDER REGARDING BRIEFING OF SUMMARY
JUDGMENT MOTIONS FOR JUDGE LEO T. SOROKIN’S SESSION

The following requirements shall apply to all summary judgment motions, and all related briefs
and submissions, filed in this Session:

1. Reply Briefs: The moving party may file a reply, within seven days of the filing of
the opposition, not to exceed five pages. Leave of court is required for a longer reply,
a longer period of time to file a reply, or a surreply.

2. Cross-Motions: If both sides are filing motions for summary judgment, absent leave
of court, they shall do so in the following manner:

a. Plaintiff shall file its motion, with a memorandum not to exceed twenty pages,
on or before the date set forth in the Scheduling Order governing the case;

b. Within thirty days of Plaintiff's submission pursuant to paragraph 2(a),
Defendant shall file a single memorandum as both its memorandum in
opposition to Plaintiff's motion and its memorandum in support of its cross-
motion, not to exceed thirty pages;

c. Within twenty-one days of Defendant’s submission pursuant to paragraph
2(b), Plaintiff shall file a single memorandum as both its reply in support of its
motion and its opposition to Defendant’s cross-motion, not to exceed fifteen
pages; and

d. Within ten days of Plaintiff's submission pursuant to paragraph 2(c),
Defendant may file a single memorandum as both its reply in support of its
cross-motion and its surreply in opposition to Plaintiff's motion, not to exceed
five pages.

3. Statement of Undisputed Facts: The parties shall file one combined statement of
material undisputed facts in which the moving party’s statement of facts and the
opposing party’s response to each fact are presented together using the following
format:

1. [fact recited by the movant]. [citation(s) to record evidence supporting the
fact].

RESPONSE: [statement by opposing party that the fact is either admitted or
disputed]. [if disputed, citation(s) to record evidence showing the dispute].

If there are cross-motions, Plaintiff shall list its facts in a numbered list under the
heading “Plaintiffs Statement of Material Undisputed Facts” and Defendant shall
present its responses beneath each listed fact. In the same document, Defendant shall
list its facts under the heading “Defendant’s Statement of Material Undisputed Facts,”
numbering its facts consecutively beginning with the number following the last
Case 1:18-cv-10819-LTS Document 9-2 Filed 05/10/18 Page 2 of 2

number appearing in the Plaintiff's statement, and Plaintiff shall present its responses
beneath each listed fact.

The unified statement of material undisputed facts shall be filed concurrently with the
memorandum filed by the party opposing summary judgment, or in the case of cross-

motions, concurrently with the Plaintiff's reply/opposition brief pursuant to paragraph
2(c) above.

. Exhibits: Each party shall file its exhibits in chronological order and include a
descriptive table of contents. Opposing parties may cite to exhibits already filed
rather than filing duplicate copies. When submitting either more than five exhibits or

lengthy exhibits, a tabbed paper courtesy copy shall also be provided to the
Courtroom Deputy.

SO ORDERED.

ts/ Leo T. Sorokin
United States District Judge
